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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


   UNITED STATES OF AMERICA                                                            PLAINTIFF

   VS.                                              CRIMINAL ACTION NO.3:07CR-10-01-R

   FREDDIE JOHNSON                                                                 DEFENDANT



                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

                This matter has been referred to the undersigned Magistrate Judge Dave Whalin

         by the District Court for the purpose of conducting proceedings pursuant to

         Fed.R.Crim.P. 11. The Defendant,, by consent and with William Yesowitch, CJA ,

         appointed Counsel, appeared in open court on May 25, 2007, and entered a plea of guilty

         as to Counts 1, 2 & 4 of the superseding indictment pursuant to a Rule 11(c)(1)(B) plea

         agreement. The United States was represented by Bryan Calhoun, Assistant United

         States Attorney. After cautioning and examining the Defendant under oath concerning

         each of the subjects mentioned in Rule 11, The Court determined that the guilty plea was

         knowledgeable and voluntary as to Counts 1, 2 & 4 of the superseding indictment, and

         that the offenses charged are supported by an independent basis in fact concerning each

         of the essential elements of such offenses. Therefore, the undersigned recommend’s that

         the plea of guilty be accepted, and that the Defendant be adjudged guilty and have

         sentence imposed accordingly.
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          IT IS HEREBY ORDERED that a date for sentencing as to this defendant will be

   established by further order of the Court. IT IS FURTHER ORDERED that the defendant

   shall be remanded to the custody of the United States Marshal.

          The defendant shall have ten (10) days to file any objections to this recommendation

   pursuant to Fed.R.Crim.P. 72(b), or waive the opportunity to do so.



   May 29, 2007




                                                                    May 29, 2007
   Copies to:
   United States Attorney
   Counsel for Defendant
   United States Marshal
   United States Probation




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